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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       MDL No. 3076
                                CASE NO. 1:23-md-03076-KMM

   IN RE:

   FTX Cryptocurrency Exchange Collapse Litigation
   __________________________________________________

   THIS DOCUMENT RELATES TO:

   Domestic Venture Capital Funds
   __________________________________________________/

                        AGREED JOINT MOTION REGARDING
                   DOMESTIC VC DEFENDANTS’ MOTIONS TO DISMISS

          Plaintiffs Brandon Orr, Leandro Cabo, Ryan Henderson, Michael Livieratos, Alexander

   Chernyavsky, Gregg Podalsky, Vijeth Shetty, Chukwudozie Ezeokoli, Michael Norris, Edwin

   Garrison, Shengyun Huang, Julie Papadakis, Vitor Vozza, Kyle Rupprecht, Warren Winter and

   Sunil Kavuri (“Plaintiffs”) and Defendants Thoma Bravo, LP, Sequoia Capital Operations, LLC,

   Altimeter Capital Management, LP, Multicoin Capital Management LLC, Tiger Global

   Management, LLC, Paradigm Operations LP, Ribbit Capital, L.P., K5 Global Advisor, LLC and

   SkyBridge Capital II, LLC, (collectively, “Domestic VC Defendants,” and together with Plaintiffs,

   the “Parties”), pursuant to Federal Rule of Civil Procedure 6(b) and Southern District of Florida
   Local Rule 7.1(a)(1)(J), respectfully file this agreed joint motion (the “Agreed Motion”) regarding

   Domestic VC Defendants’ forthcoming motions to dismiss Plaintiffs’ Administrative Class Action

   Complaint and Demand for Jury Trial: Domestic Venture Capital Funds (ECF 157) (“Master

   Complaint”).

          On June 21, 2023, this Court entered an Initial Scheduling and Case Management Order

   (ECF 61), which required Plaintiffs to file consolidated amended complaints within 45 days of

   entry of that order and allowed Defendants 45 days from the filing of the amended complaints to

   respond. Subsequently, on August 8, 2023, Plaintiffs filed the Master Complaint. On August 25,
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   2023, this Court entered a Paperless Order (ECF 216) setting forth certain briefing procedures and

   page limits for all forthcoming motions to dismiss in the above-captioned MDL proceedings,

   including Domestic VC Defendants’ motions to dismiss.

             Given the number of Domestic VC Defendants, claims, and issues requiring briefing before

   this Court, and the Parties’ desire to ensure an orderly and efficient briefing process while

   minimizing unnecessary briefing, the Parties agree that entering a joint briefing schedule, as well

   as certain additional briefing procedures and reservations of rights, is in the best interests of the

   Parties and this Court. The Parties have included certain reservations of rights in section III of the

   attached Proposed Order that are designed to streamline the issues before the Court at this stage

   by limiting briefing to Rule 12(b)(6) issues, while ensuring that the parties preserve their respective

   positions on other issues. 1
             WHEREFORE, the Parties respectfully request that the Court authorize the briefing

   schedule, procedures, and reservation of rights for motions to dismiss the Master Complaint as set

   forth in the Proposed Order attached hereto as Exhibit 1.

             Counsel for Domestic VC Defendants have conferred with all signatories to this Agreed

   Motion in a good faith effort to resolve the issues raised herein and are authorized to represent that

   the Parties agree to the relief sought.

       DATED: August 28, 2023                                      Respectfully submitted,

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         Other MDL courts have entered similar reservations of rights. See, e.g., Case Management Order No. 8, In re:
         Paraquat Prods. Liab. Litig., ECF No. 347 (S.D. Ill. Sept. 10, 2021); Pre-Trial Order No. 20, In re: Oil Spill by
         the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, ECF No. 904 (E.D. La. Dec. 17,
         2010).


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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served

   electronically through the Court’s CM/ECF system upon all parties registered to receive

   electronic notice in this case on August 28, 2023.



                                                /s/ Jordi Guso
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